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                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

DANESH NOSHIRVAN
an individual,                                        CASE NO:
                                                      2:23-cv-01218-JES-KCD
       Plaintiff,
vs.                                                   JUDGE. Hon. John E. Steele

JENNIFER COUTURE, Et’al,
       Defendant(s).
__________________________/


         PLAINTIFF DANESH NOSHIRVAN’S NOTICE OF FILING
      DECLARATIONS TO BE UTILIZED IN CONJUNCTION WITH THE
                MAY 19, 2025 EVIDENTRIAY HEARING

       Pursuant to Federal Rule of Civil Procedure 43(c) and this Court’s Order

setting   Evidentiary    Hearing    (Dkt.   307),     plaintiff,   Danesh   Noshirvan

(“Noshirvan”), files this Notice of Intent to utilize the following declarations:

       1. Declaration of Christopher Marlborough containing the following
          attachments: (1) Letter; (1.A.) Email Correspondence; (1.B) Instructions;
          (2) Camp’s email to the Court; (3) Camp’s Gab.com/@joeycamp2020
          post.


                               Memorandum of Law


       Under Federal Rule of Civil Procedure 43(c), a court may consider

deposition transcripts and declarations even though the declarant did not appear

as a witness at the hearing. Forsberg v. Pefanis, 261 F.R.D. 694, 700 (N.D. Ga. 2009),
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aff'd, 634 Fed. Appx. 676 (11th Cir. 2015)(“pursuant to Federal Rule of Civil

Procedure 43(c), it may consider the … Declarations in ruling on Plaintiff's motion

for sanctions.”).

      Here, Defendants received due process because they were on notice of the

declarant from Plaintiff’s initial disclosures and given roughly additional 40-days

to depose the declarants pursuant to the Court’s Order requiring an evidentiary

hearing. Defendants had the opportunity to depose witnesses but declined to do

so.

      DATED: May 16, 2025.
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                           CERTIFICATE OF SERVICE


       I hereby certify that on May 16, 2025, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system, which will send notice of
electronic filing to the following:

Patrick Trainor, Esquire
Law Office of Patrick Trainor, Esq., LLC
19 Union Avenue, Suite 201
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OMG Realty, LLC, and Wraith, LLC


                                          /s/ Nicholas A. Chiappetta
                                          Nicholas A. Chiappetta




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